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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION

RG4 Holding Co., LLC,                 )
                                      )              Civil Action No. ______________
                    Plaintiff,        )
                                      )
vs.                                   )
                                      )              ANSWER TO COMPLAINT AND
                                      )              COUNTERCLAIM
The Dennis Engineering Group, LLC and )
The Dennis Group, LLC                 )
                                      )
                    Defendants.       )
____________________________________)

       The Dennis Engineering Group, LLC (‘Dennis”) and The Dennis Group, LLC, (“Dennis

Group”), answering the Complaint of RG4 Holding Co., LLC, (“Ruiz”) and by way of

Counterclaim, allege:

       1. Dennis and the Dennis Group denies and every allegation of the Complaint not

hereinafter specifically admitted.

       2. As to paragraph 1 of the Complaint, on information and belief Dennis and the Dennis

Group admit on information and belief that RG4 Holding Co., LLC is a limited liability company

organized and existing under the laws of the State of South Carolina but they are without sufficient

information to either admit or deny the remaining allegations set forth in paragraph 1 of the

Complaint.

       3. Dennis and the Dennis Group admit the allegations of paragraph 2 of the Complaint.

       4. Dennis and the Dennis Group deny the allegations of paragraph 3 of the Complaint.

       5. With regard to paragraph 4 of the Complaint Dennis and the Dennis Group admit that

RG4 has brought an action against Dennis and the Dennis Group, and that Exhibit 1 is an

Agreement for Engineering and Construction Management Services (the “Phase 1 Agreement”)

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between Rg4 and The Dennis Engineering Group, LLC. Dennis and the Dennis Group deny the

remaining allegations of paragraph 4 of the Complaint.

                                 JURISDICTION AND VENUE

       6. Paragraph 5 contains legal conclusions regarding Jurisdiction and Venue to which no

response is required, provided however, that to the extent a response is required, Dennis and the

Dennis Group deny those allegations.

       7. As to paragraph 6 of the Complaint, Dennis and the Dennis Group admit that the facility

referred to is located in Florence County, South Carolina. In further responding, the remaining

allegations in paragraph 6 of the Complaint are legal conclusions regarding Jurisdiction and Venue

to which no response is required, provided however, that to the extent a response is required, they

deny those allegations.

                                       THE AGREEMENT

       8. As to paragraph 7 of the Complaint, Dennis and the Dennis Group admit that RG4 and

Dennis Engineering Group, LLC entered into the Phase 1 Agreement for Engineering and

Construction Management on or about June 30th, 2015. In further responding, Dennis and the

Dennis Group state that the Phase 1 Agreement speaks for itself. Dennis and the Dennis Group

deny all remaining allegations in paragraph 7 of the Complaint.

       9. With respect to paragraph 8 of the Complaint, Dennis and the Dennis Group admit that

RG4 and Dennis Engineering Group, LLC entered into the Phase 1 Agreement. In further

responding, Dennis and the Dennis Group state that the Phase 1 Agreement speaks for itself.

Dennis and the Dennis Group deny all the remaining allegations of paragraph 8 of the Complaint.

       10. As to paragraph 9 of the Complaint, Dennis and the Dennis Group admit that RG4 and

Dennis Engineering Group. LLC entered into the Phase 1 Agreement. In further responding,




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Dennis and the Dennis Group state that the Phase 1 Agreement speaks for itself. Dennis and the

Dennis Group deny all remaining allegations in paragraph 9 and footnote 1 of the Complaint.

       11. As to paragraph 10 of the Complaint, Dennis and the Dennis Group admit only that

Ruiz entered into the Phase I Agreement. In further responding, Dennis and the Dennis Group are

without sufficient information to either admit or deny why Ruiz entered into the agreement and/or

what it was relying on when it did so, and therefore they deny those allegations. In further

responding, Dennis and the Dennis Group categorically deny that any fiduciary relationship was

created and/or existed between DGL and Ruiz. In further responding, Dennis and the Dennis

Group deny the remaining allegations of in paragraph 10 of the Complaint.

       12. With respect to paragraph 11 of the Complaint, Dennis and the Dennis Group admit

that RG4 and Dennis Engineering Group, LLC entered into the Phase 1 Agreement. In further

responding, Dennis and the Dennis Group state that the Phase 1 Agreement speaks for itself.

Dennis and the Dennis Group deny all the remaining allegations in paragraph 11 of the Complaint.

Dennis and the Dennis Group categorically deny that any fiduciary relationship was created and/or

existed between Dennis and/or the Dennis Group and Ruiz. In further responding Dennis and the

Dennis Group state that Denis went above and beyond to deliver a superior project to Ruiz. In

further answering Dennis and the Dennis Group deny the remaining allegations in the first

paragraph of paragraph 11 of the Complaint. In further responding, they assert as to each

subparagraph that:

       a. Section 3 (C)(2)(f) of the Phase 1Agreement speaks for itself. They deny the remaining

allegations in subsection a of paragraph 11 of the Complaint.




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       b. Section 4(A), RFQ speaks for itself. In further responding the phrase “not to perform

extra work” is not in the Phase 1 Agreement. They deny the remaining allegations in subsection

b of paragraph 11 of the Complaint.

       c. Section 1.01(E) of the Phase 1 Agreement speaks for itself. They deny the remaining

allegations in subsection c of paragraph 11 of the Complaint.

       d. Section 3(B)(3) of the Phase Agreement speaks for itself. They deny the remaining

allegations in subsection d of paragraph 11 of the Complaint.

       e. Section 3(C)(2)(a) of the Phase 1 Agreement speaks for itself. They deny the remaining

allegations in subsection e of paragraph 11 of the Complaint.

       f. Article 11 of the Phase 1 Agreement speaks for itself. They deny the remaining

allegations in subsection f of paragraph 11 of the Complaint.

       g. Article 11 of the Phase I Agreement speaks for itself. They deny the remaining

allegations in subsection g of paragraph 11 of the Complaint.

       13. Dennis and Dennis Group deny the allegations of paragraph 12 of the Complaint.

                                CONTRACT PERFORMANCE

       14. As to paragraph 13 of the Complaint, Dennis and Dennis Group admit that Dennis, at

the express direction and authorization by Ruiz began work on what became known as Phase 1 of

the Project. Dennis and Dennis Group admit that Dennis, at the express direction and authorization

by Ruiz began work on what became known as Phase 2 of the Project. Dennis and Dennis Group

deny the remaining allegations in paragraph 13 of the Complaint.

       15. Dennis and Dennis Group deny the allegations of paragraph 14 of the Complaint. In

further responding, they assert that Dennis was told by Ruiz when Dennis was first retained by




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Ruiz well before the Phase 1 Agreement was signed that Dennis was to immediately proceed with

engineering and construction on all work in what ultimately became phases 1, 2 and 3 concurrently.

       16. Dennis and Dennis Group deny the allegations of paragraph 15 of the Complaint. In

further responding, any and all work performed on the Project was at the sole and exclusive

direction of Ruiz and with Ruiz approval.

       17. Dennis and Dennis Group deny the allegations of paragraph 16 of the Complaint. In

further responding, any and all budgeting and work performed on the Project was at the sole and

exclusive direction of Ruiz and with Ruiz approval.

       18. With regard to paragraph 17 of the Complaint, Dennis and Dennis Group admit that

Dennis at the express direction and authorization by Ruiz began work on what became known as

Phase 3 of the Project. They deny the remaining allegations in paragraph 17 of the Complaint. In

further responding, any and all work performed on the Project was at the sole and exclusive

direction of Ruiz and with Ruiz approval.

       19. Dennis and Dennis Group deny the allegations of paragraph 18 of the Complaint. In

further responding, any and all budgeting, preparation of cost proposals and work performed on

the Project was at the sole and exclusive direction of Ruiz and with Ruiz approval.

       20. Dennis and Dennis Group deny the allegations of paragraph 19 of the Complaint. In

further responding, any and all work performed on the Project was at the sole and exclusive

direction of Ruiz and with Ruiz approval.

       21. Dennis and Dennis Group deny the allegations of paragraph 20 of the Complaint.

Dennis was told by Ruiz when Dennis was first retained by Ruiz well before the Phase 1

Agreement was signed that Dennis was to immediately proceed with engineering and construction

on all work in what ultimately became phases 1, 2 and 3 concurrently. In further responding, any




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and all work performed on the Project was at the sole and exclusive direction of Ruiz and with

Ruiz approval.

       22. Dennis and Dennis Group deny the allegations of paragraph 21 of the Complaint.

       23. Dennis and Dennis Group deny the allegations of paragraph 22 of the Complaint.

       24. Dennis and Dennis Group deny the allegations of paragraph 23 of the Complaint,

including the allegations in footnote 2. In further responding, any and all work performed on the

Project was at the sole and exclusive direction of Ruiz and with Ruiz approval.

       25. As to paragraph 24 of the Complaint, Dennis and Dennis Group admit that RG4 and

Dennis entered into the November 13, 2015 Supplemental Agreement (the “Phase 2 Agreement”)

for what had become Phase 2 of the Project. They deny the remaining allegations of paragraph 24

of the Complaint. In further responding, any and all work performed on the Project was at the sole

and exclusive direction of Ruiz and with Ruiz approval.

       26. With respect to paragraph 25 of the Complaint, Dennis and Dennis Group assert that

the terms of the Phase 2 Agreement speak for themselves. They deny the remaining allegations in

paragraph 25 of the Complaint. In further responding, any and all work performed on the Project

was at the sole and exclusive direction of Ruiz and with Ruiz approval.

       27. DGL denies the allegations of paragraph 26 of the Complaint. In further responding,

any and all work performed on the Project was at the sole and exclusive direction of Ruiz and with

Ruiz approval.

       28. Dennis and Dennis Group deny the allegations of paragraph 27 of the Complaint. In

further responding, any and all work performed on the Project was at the sole and exclusive

direction of Ruiz and with Ruiz approval.




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       29. That as to paragraph 28 of the Complaint, Dennis and Dennis Group admit that Ruiz

has improperly failed and continues to fail to pay Dennis over $1,241,594.23 in fees plus interest

due and owed. They deny all remaining allegations in paragraph 28, including footnote 3, of the

Complaint.

       30. As to paragraph 29 of the Complaint, Dennis and Dennis Group admit that RG4 and

Dennis entered into the March 14, 20016 Supplemental Agreement Finish-Out (the Finish-Out

Agreement”) for the remaining work to be completed on the Project as described therein. They

deny the remaining allegations of paragraph 29 of the Complaint. In further responding, Dennis

and Dennis Group categorically deny that a fiduciary relationship was ever created between Dennis

and Ruiz.

       31. With regard to paragraph 30 of the Complaint, Dennis and Dennis Group assert that

the terms of the Finish-Out Agreement speak for themselves. They deny the remaining allegations

of paragraph 30 of the Complaint.

       32. Dennis and Dennis Group deny the all of the allegations of paragraph 31 of the

Complaint including all paragraph 31’s subsections.

       33. With regard to paragraph 32 of the Complaint, Dennis and Dennis Group assert that

the terms of the Finish-Out Agreement speak for themselves. It is admitted that Dennis filed a

mechanics lien against the Project, the terms of which speak for themselves. They deny the

remaining allegations of paragraph 32 of the Complaint.

       34. Dennis and Dennis Group deny the allegations of paragraph 33 of the Complaint. They

specifically deny that Ruiz has paid all undisputed amounts. It is further specifically denied that

there are any conditions of payment of the overdue invoices, such as final completion, project close

out documentation or that the retainage provisions in the Phase 1 Agreement are applicable to




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payment of the past due invoices in the amount of $1,241,594.23 for work under the Finish Out

Agreement.

       35. Dennis and Dennis Group deny the allegations of paragraph 34 of the Complaint.

                            AS TO THE FIRST CAUSE OF ACTION
                                    (Breach of Contract)

       36. As to paragraph 35 of the Complaint, Dennis and Dennis Group incorporate the

preceding allegations as if set forth fully herein verbatim.

       37. With regard to paragraph 36 of the Complaint, Dennis and Dennis Group admit that

the Dennis Engineering Group, LLC, entered into the Phase 1 Agreement. In further responding,

Dennis and Dennis Group state that the terms of the Phase 1 Agreement speak for themselves.

They deny all remaining allegations in paragraph 36 of the Complaint.

       38. As to paragraph 37 of the Complaint, Dennis and Dennis Group admit that the Dennis

Engineering Group, LLC, entered into the Phase 2 Agreement. In further responding, Dennis and

Dennis Group state that the terms of the Phase 2 Agreement speak for themselves. They deny any

the remaining allegations in paragraph 37 of the Complaint.

       39. As to paragraph 38 of the Complaint, Dennis and Dennis Group admit that Dennis

Engineering Group, LLC entered into the Finish-Out Agreement. In further responding, Dennis

and Dennis Group state that the terms of the Finish-Out Agreement speak for themselves. They

deny any the remaining allegations in paragraph 38 of the Complaint.

       40. With regard to paragraph 39 of the Complaint, Dennis and Dennis Group state that the

terms of the Phase 2 Agreement and the Finish-Out Agreement speak for themselves. Dennis and

Dennis Group deny the remaining allegations of paragraph 39 of the Complaint. In further

responding, Dennis states that it in no way breached any part of its agreements with Ruiz.




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       41. Dennis and Dennis Group deny the allegations of paragraph 40 of the Complaint. In

further responding, Ruiz has refused and continues to refuse to pay invoices due and owing to

Dennis in the amount of $1,241,594.23.

       42. Dennis and Dennis Group deny all allegations in paragraph 41 of the Complaint and

subsections (i) through (x).

       43. Dennis and Dennis Group deny all allegations in paragraph 42 of the Complaint and

subsections (i) through (vi).

       44. Dennis and Dennis Group deny the allegations of paragraph 43 of the Complaint.

                                    SECOND CAUSE OF ACTION
                                      (Breach of Fiduciary Duty)

       45. As to the paragraph 44 of the Complaint, Dennis and Dennis Group incorporate the

preceding allegations as if set forth fully herein verbatim.

       46. Dennis and Dennis Group deny the allegations of paragraph 45 of the Complaint.

       47. Dennis and Dennis Group deny that allegations of paragraph 46 of the Complaint.

       48. As to paragraph 47 of the Complaint, Dennis and Dennis Group state that the terms of

the agreement entered into by Ruiz and the Dennis speak for themselves. They deny the remaining

allegations of paragraph 47 of the Complaint. In further responding, Dennis and Dennis Group

categorically deny that a fiduciary relationship was created between the parties.

       49. Dennis and Dennis Group deny that allegations of paragraph 48 of the Complaint.

       50. Dennis and Dennis Group deny that allegations of paragraph 49 of the Complaint and

subsections (i) through (vii).

       51. Dennis and Dennis Group deny that allegations of paragraph 50 of the Complaint




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                                    AFFIRMATIVE DEFENSES

                                  FIRST AFFIRMATIVE DEFENSE

       52.       Plaintiff has failed to state a claim against Dennis and the Dennis Group upon which

relief may be granted.

                              SECOND AFFIRMATIVE DEFENSE

       53.       If the Plaintiff was damaged as alleged, then its damages occurred as a result of the

acts and/or omissions of persons or entities for whose conduct Dennis nor the Dennis Group was

legally liable nor responsible.

                               THIRD AFFIRMATIVE DEFENSE

       54.       The losses, if any, sustained by the Plaintiff were the result of conduct of persons

or entities over which neither Dennis nor the Dennis Group whom DGL had control or

responsibility, nor for whose conduct Dennis or the Dennis Group is thus liable.

                              FOURTH AFFIRMATIVE DEFENSE

       55.       Plaintiff’s claims are barred by estoppel, release, laches, consent, unclean hands

and/or waiver.

                                  FIFTH AFFIRMATIVE DEFENSE

       56.       Plaintiff has incurred no damages as a result of any conduct of Dennis and the

Dennis Group.

                               SIXTH AFFIRMATIVE DEFENSE

       57.       Plaintiff’s recovery is reduced, in whole or in part by its own comparative

negligence and/or Plaintiff’s recovery is barred by its own comparative negligence.




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                            SEVENTH AFFIRMATIVE DEFENSE

        58.     Plaintiff is not entitled to recover from Dennis and Dennis Group as Dennis and

Dennis Group have at all times complied with the applicable standard of care.

                               EIGHTH AFFIRMATIVE DEFENSE

        59.     Plaintiff’s claims are barred as to the Dennis Group by lack of privity with the

Dennis Group.

                               NINTH AFFIRMATIVE DEFENSE

        60.     Plaintiff’s claims are barred in whole or in part by its failure to mitigate damages.

                               TENTH AFFIRMATIVE DEFENSE

        61.     Plaintiff’s claims against Dennis and Dennis Group are barred as there is no causal

connection between any alleged act, error or omission by Dennis and Dennis Group and the

Plaintiff’s alleged damages.

                           ELEVENTH AFFIRMATIVE DEFENSE

        62.     Plaintiff’s claims against Dennis and Dennis Group are barred by the doctrine of

accord and satisfaction.

                            TWELFTH AFFIRMATIVE DEFENSE

        63.     Dennis acted in good faith with respect to its interpretations, decisions,

determinations, and other actions performed and is, therefore, entitled to immunity from the claims

asserted in this action.

                               THIRTEENTH AFFIRMATIVE DEFENSE

        64.     Dennis and Dennis Group reserve the right to assert further affirmative defenses to

the extent allowed by law and to the extent the additional defenses are revealed during discovery.




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  COUNTERCLAIMS OF THE DEFENDANT THE DENNIS ENERING GROUP, LLC.


                                              PARTIES

        1.      The Dennis Engineering Group, LLC is a limited liability company, organized and

existing pursuant to the laws of the State of Delaware. Dennis is authorized to do business in the

State of South Carolina and has done business in Florence County at all times relevant.

        2.      Defendant The Dennis Group, LLC (hereinafter referred to as “Dennis Group”), is

not a legal entity. Dennis sometimes does business as the Dennis Group.

        3.      On information and belief, R4G Holding Co., LLC (hereinafter referred to as

“Ruiz”) is a limited liability company, organized and existing pursuant to the laws of the State of

South Carolina and owns the food processing facility in Florence, South Carolina (hereinafter

referred to as the “Facility” or the “Project”), which is the subject of this action.

                                   FACTUAL ALLEGATIONS

        4.      In April, 2015, Ruiz retained Dennis to provide certain engineering, construction

management and construction services at the Project.

        5.      Ruiz was well behind schedule for the planned new construction, renovation and

equipment installation at the existing facility, and Ruiz did not have the manpower or expertise to

manage a fast track project of this magnitude.

        6.      Dennis was instructed by Ruiz that schedule and completion were the preeminent

factors, not cost.

        7.      From the very outset of Dennis involvement, Dennis was directed by Ruiz to

provide engineering, construction management and construction services for the entire scope of

the Project.




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       8.     The Project was ultimately divided into three phases, broadly consisting of a new

addition, renovation of the existing facility, and the installation of extensive food processing

machines and equipment.

       9.     The required work on all phases was to be budgeted, costs determined,

subcontractors selected, and worked commenced as soon as possible, and the work on all phases

was to be performed concurrently.

       10.    Ruiz’s on-site Owner’s Representative, David Hipenbecker, was specifically

authorized by Ruiz to approve the Project budget as it was developed, approve change orders,

render decisions promptly, furnish information expeditiously, and to act on Ruiz’s behalf in

connection with the Project.

       11.    Because of the “fast-track” nature of the Project, and with Ruiz’s authorization and

direction, Dennis proceeded with design, budgeting, defining costs, locating and contracting with

Ruiz approved subcontractors, and commencement of the work on all three phases from the

beginning of Dennis’s involvement.

       12.    While all three phases were proceeding and for each phase concurrently, Ruiz

directed Dennis to provide design for Ruiz approval, define cost and prepare budgets for Ruiz’s

approval, and procure the work for Ruiz approval. Once the design was prepared, the construction

costs for the various work packages determined and subcontractors for each work package

identified, Ruiz would review them and if acceptable, approve them in writing, at which time

Dennis was instructed and authorized by Ruiz to issue subcontracts for the work and proceed with

work on all three phases concurrently.

       13.    Detailed records of working budgets, approved cost and committed work were kept

by Dennis and updated continually, and provided to Ruiz and continually reviewed by Ruiz.




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       14.     This procedure was consistent with the customary process followed to expedite fast

track construction projects such as the Ruiz Project

       15.     As the cost of the Phase 1 (new addition) was finalized, Ruiz and Dennis finalized

the budget for that phase. The Agreement for Engineering and Construction Management Services

dated June 30, 2015, (the ‘Phase 1 Agreement”) was executed by the parties.

       16.     At the time the Phase 1 Agreement was finally executed on July 1, 2015, work on

all three phases of the work was well under way at the Project at the direction of and with the full

participation of Ruiz.

       17.     With reference to the remaining Phase 2 and Phase 3 work, Ruiz and Dennis

continued the procedure previously adopted. Once the design, the construction costs and

subcontractors for the remaining work had been approved by Ruiz, Dennis was instructed and

authorized to issue subcontracts for the work and proceed with the work on all three phases. Dennis

continued to work with Ruiz to finalize the scope and budget for Phases 2 and 3.

       18.     By November 15, 2015 the budget and work scope had been established for the

Phase 2 work, and Ruiz and Dennis executed the Supplemental Agreement (the “Phase 2

Agreement”) finalizing the budget and work scope for Phase 2. However, the work in in Phase 2

had long since been authorized and approved by Ruiz, and in fact was nearing completion.

       19.     With reference to the remaining Phase 3 work, Ruiz and Dennis continued the

procedure previously adopted. Once the design, the construction costs and subcontractors for the

remaining work had been approved by Ruiz, Dennis was instructed and authorized to issue

subcontracts for the work and proceed on work on all three phases. Dennis continued to work with

Ruiz to finalize the scope and budget for Phase 3.




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        20.    Throughout the entire Project, through final completion detailed records of working

budgets, approved cost and committed work and costs incurred were kept by Dennis, updated

continually, and were provided to Ruiz on a frequent basis and continually reviewed by Ruiz.

        21.    By February 2016, all work in Phases 1 and 2 and a major portion of the work in

Phase 3 had been authorized in writing by Ruiz, and the authorized work on all three phases was

nearing completion. Production line 1, a major portion of the Phase 3 work had been completed

and was actually being operated by Ruiz to produce vast quantities of its Mexican food product

for sale.

        22.    Unexpectedly, Dennis received a February 12, 2016 letter from Ruiz’s home office

in California questioning invoices submitted by Dennis and questioning Dennis’s authorization to

perform Phase 3 work.

        23.    This came as a great surprise to Dennis since it had written authorization from Ruiz

for the Phase 3 work it was performing and for which it had billed. Further, it was obvious by

observation at the site that Phase 3 work was being performed since major equipment which was

part of Phase 3 had been and was being installed, some of which was actually being operated by

Ruiz.

        24.    By letter dated February 17, 2016, (Exhibit 1) Dennis responded that the work had

been authorized in writing by Ruiz, and the process and procedures established by Ruiz at the site

had been followed.

        25     Having been informed that Ruiz considered a portion of the Phase 3 work to be

unauthorized, Dennis asked for authorization to proceed with the portion of the Phase 3 work for

which Dennis had not previously received written authorization.




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       26.    Ruiz initially declined, so Dennis proceed with the work for which it had received

written authorization from Ruiz, including a portion of the Phase 3 work. Work on the portion of

the Phase 3 work Ruiz claimed was unauthorized was stopped pending receipt of authorization by

Ruiz to proceed.

       27.    During this period, Dennis was told that Mr. Hipenbecker had been fired by Ruiz,

and replaced as Ruiz’s Owner’s Representative under the contract by Mr. Hipenbecker’s boss,

Brian Miller, who had also been involved in the Project from the time Dennis was retained.

       28.    After a substantial delay, Ruiz and Dennis entered into the Supplemental

Agreement Finish-Out (the “Finish-Out Agreement) dated March 14, 2016, and signed at the end

of March 2016 (Exhibit 2) which authorized the remaining work and established a budget of

$6,496,654 for completion of the work contained in the Close Out Proposal attached to the Finish-

Out Agreement

       29.    With the exception of the unpaid portion of an invoice submitted in December,

2015, for which no explanation for nonpayment has ever been received, Ruiz also paid all overdue

invoices for work previously performed.

       30.    As provided in Paragraph 4 the Finish-Out Agreement, Ruiz was to pay for the

work to complete the Project when invoiced by Dennis without deduction of retainage or offset.

       4.         Nothing in this agreement shall be construed as obligating Owner to pay
       Engineer/Construction Manager for prior amounts billed to Owner or defined as committed
       in the Close-Out Proposal. This agreement does, however, obligate Owner to pay
       Engineer/Construction Manager for all future work specified in the Close-Out Proposal.
       For clarity, notwithstanding any other provision of this agreement or the Contract, Owner
       shall pay Engineer/Construction Manager those direct personnel expenses and
       reimbursable costs for all properly completed future work specified in the Close-Out
       Proposal if such work was performed on or after March 14, 2016; provided further that
       Owner retains the right at Project close out to seek reimbursement of any portion of
       amounts paid for work performed after March 14, 2016 if Owner would have had the right
       to withhold payment for such amounts under Paragraph 11 of the Contract.” [Emphasis
       added]



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           31.   As provided in the Finish-Out Agreement, Dennis continued with completion of

the Project and promptly finished the Project under the cost budgeted in the Finish-Out Agreement.

           32.   Ruiz paid the invoices submitted by Dennis in March, April, May and June without

retainage or offset as required by the Finish-Out Agreement

           33.   At the end of June 2016, Production Line 2 was completed and the Facility turned

over to Ruiz fully operational. Since the end of June, 2016, Ruiz has been operating this major

food processing facility, producing vast quantities of its Mexican food product for sale, producing,

Dennis is informed and believes, millions of dollars of income for Ruiz.

           34.   Since the date when the plant was completed and turned over to Ruiz fully

operational, Ruiz has failed and refused to pay any invoice submitted by Dennis after Facility

turnover at the end of June 2016 in breach of the terms of the Finish-Out Agreement.

           35.   Dennis has completed its work as required by the Finish-Out Agreement and the

various other agreements between the parties, and the Project was delivered to Ruiz on time (to

the extent allowed by Ruiz) and under budget.

           36.   There is currently One Million Two Hundred Forty-One Thousand Five Hundred

Ninety-Four and 23/100 ($1,241,594.23) in overdue invoices for work performed pursuant to the

Finish-Out Agreement to complete the Project and the various other agreements between the

parties.

           37.   Dennis has made repeated demand for payment and Ruiz has wrongfully refused to

pay.

           38.   Dennis has filed a mechanics lien against the Project in Florence County, South

Carolina.




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        39.     Dennis has performed all obligations required and satisfied all conditions precedent

for bring this action.

        40.     In addition to the unpaid contract amount, Dennis is entitled to interest and its cost

and expenses incurred as a result of Ruiz’s wrongful refusal to pay, including collection costs,

court and litigation costs and expenses and expert and attorneys’ fees.

                                  FIRST CLAIM FOR RELIEF
                                   (Breach of Contract By Ruiz)

        41.     Dennis incorporates the allegations contained within Paragraphs 1 through 40

above as if repeated verbatim herein.

        42.     Pursuant to the Finish-Out Agreement and the other agreements between the

parties, Ruiz was bound to pay Dennis for the labor and materials provided to the Project.

        43.     Despite repeated demand, Ruiz has failed and refused to pay the remaining amount

due, or any of it, the total amount past-due and owing as of November 8, 2016 being One Million

Two Hundred Forty-One Thousand Five Hundred Ninety-Four and 23/100 ($1,241,594.23)

Dollars in breach of the Finish-Out Agreement and the other agreements between the parties as set

forth in the attached affidavit (Exhibit 3) of John Lapinski, Controller of Dennis.

        44.     Dennis has made demand on Ruiz pursuant to South Carolina Code § 27-1-15.

Therefore, Dennis is informed and believes that it is entitled to recover its attorneys’ fee from Ruiz

as well as interest at the judgment rate from the due date of the invoices.

        45.     Dennis has been damaged by Ruiz’s breach of contract in that it has not been paid

the amounts due when due, and been denied the use of funds to which it is duly and lawfully

entitled.

        46.     Dennis is informed and believes it is entitled to judgment against the Ruiz in the

amount of One Million Two Hundred Forty-One Thousand Five Hundred Ninety-Four and 23/100



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($1,241,594.23) Dollars, and interest at the legal rate of Eight and three-quarters (8¾ %) percent,

plus reasonable attorney’s fees and costs, all pursuant statute.

       WHEREFORE, Dennis and Dennis Group having fully answer the Complaint against them

and Dennis having fully stated it Counterclaim against Ruiz, Dennis and Dennis Group demand:

       (a)     Ruiz have and recover nothing form Dennis and the Dennis Group, and that Ruiz’s

               Complaint be dismissed.

      (b)      Judgment be granted on Dennis’ Counterclaim against the Ruiz, in the amount of

               One Million Two Hundred Forty-One Thousand Five Hundred Ninety-Four and

               23/100 ($1,241,594.23) Dollars, plus interest at the statutory rate.

      (c)      Dennis and the Dennis Group be awarded the costs of this action, including

               collection costs, court and litigation costs and expenses, expert witness and

               attorneys’ fee.

       (c)     Dennis and the Dennis Group be granted such other and further relief as the Court

               deems just and proper.



                                              s/ R. Davis Howser
                                              R. Davis Howser
                                              rdhowser@hnblaw.com
                                              D.S.C Federal Court ID: 1984
                                              Howser, Newman & Besley, LLC
                                              Post Office Box 12009
                                              Columbia, SC 29211
                                              Telephone: (803) 758-6000
                                              Facsimile: (803) 758-4445
                                              Attorney for the Defendants The Dennis
                                              Engineering Group, LLC and The Dennis Group,
                                              LLC

                                              and




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                                    Kenneth B. Walton
                                    of LEWIS BRISBOIS BISGAARD &
                                    SMITH, LLP
                                    One International Place
                                    Suite 350
                                    Boston, MA 02110
                                    857-313-3936
                                    Ken.Walton@lewisbrisbois.com
                                    Pro Hac Vice application to be submitted

December 2, 2016




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